     Case 2:14-cr-00220-JCM-GWF           Document 61       Filed 03/27/17     Page 1 of 2
Form 12 - Travel
D/NV Form
Rev. June 2014



                                 United States District Court
                                             for
                                   the District of Nevada

                           REQUEST FOR TRAVEL OUTSIDE
                          THE CONTIGUOUS UNITED STATES


Name of Offender: Collette Winn

Case Number: 2:14CR00220

Name of Sentencing Judicial Officer: Honorable James C. Mahan

Date of Original Sentence: March 18, 2015

Original Offense: Conspiracy and Theft of Mail

Original Sentence: 15 Months prison, followed by 36 Months TSR.

Date Supervision Commenced: August 19, 2016

                                         SUMMARY

The above-named offender is requesting to travel to Tijuana, Baja California, Mexico from May
25 through May 30, 2017, to undergo Bariatric surgery.

Winn is in compliance with her conditions of supervision, and is active in outside programs
which not only better herself, but also her community. Winn has provided documentation for the
bariatric surgery, and has been approved by her physician to proceed. Winn’s roommate went
through with the surgery in December, and has experienced great success.

The offender reports she will travel to Mexico on the 25th, undergo surgery on the 26th, and will
require a three-day hospital stay. According to her documentation, she will be released on May
30, 2017, after 11:00 a.m.

The probation office has no objection to Winn’s travel to Mexico for this surgery. The United
States Attorney’s Office was contacted regarding their position on Winn’s travel. Assistant U.S.
Attorney, Brandon Jaroch reviewed Winn’s case and considered her status on supervision. He
reported he has no objection to Winn’s travel.

Should the Court have questions or concerns regarding Winn’s supervised release or her travel
request, this officer can be reached at (702) 280-4470.
     Case 2:14-cr-00220-JCM-GWF          Document 61        Filed 03/27/17     Page 2 of 2

                                  RE: Collette Winn
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                                                    Respectfully submitted,

                                                                          Sunny Cascio
                                                                          2017.03.24
                                                                          10:38:06 -07'00'
                                                    ______________________________
                                                    Sunny Cascio
                                                    United States Probation Officer

Approved:
                   Todd J. Fredlund
                   2017.03.24
                   10:33:40 -07'00'
__________________________________________
Todd J. Fredlund
Supervisory United States Probation Officer



THE COURT ORDERS


X
☐        Requested Travel is Approved

☐        Requested Travel is Denied

☐        Other




                                              _____________________________
                                              Signature of Judicial Officer
                                               March 27, 2017
                                              _____________________________
                                              Date
